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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
MOLLIE PIRON, et al.,
Plaintiffs,

Vv. Civil Action No. 3:19cv709

GENERAL DYNAMICS
INFORMATION TECHNOLOGY, INC.

Defendants.
MEMORANDUM OPINION

This matter is before the Court on PLAINTIFFS’ MOTION FOR
CLASS CERTIFICATION AND RELATED RELIEF (“Class Certification
Motion”) (ECF No. 61). For the reasons set forth below, the motion
will be granted.

I. BACKGROUND

Mollie Piron, Stephanie Merino, Bounsou Thamvanthongkham, and
Christina Beecroft (“Plaintiffs”), on behalf of themselves and all
other similarly situated individuals, request that the Court
certify their claims against General Dynamics Information
Technology (“GDIT” or “Defendant”). See ECF No. 61. The Second
Amended Complaint, in its sole CLAIM FOR RELIEF, alleges that GDIT
violated the Worker Adjustment and Retraining Notification Act
(“WARN” Act) (29 U.S.C. § 2101, et seg.) by not providing at least
“60 days’ notice prior to terminating 500 or more employees in a

mass layoff, or before terminating 50 or more employees in a plant
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closing.” SECOND AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF
WARN ACT 29 U.S.C. § 2101, ET SEQ. (“SAC”) (ECF No. 49 @ 6). In
its PRAYER FOR RELIEF, the SAC seeks to recover up to 60 days of
wages and benefits of various kinds. Id. GDIT opposes class
certification by arguing that the predominance requirement of Rule
23(b) (3) has not been established. GDIT does not contest any of
the other factors under Rule 23 as substantiated in the Class
Certification Motion. See DEFENDANT GDIT’s MEMORANDUM OF LAW IN
OPPOSITION TO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION AND
RELATED RELIEF (ECF No. 72). The crux of the predominance issue is
whether Plaintiffs and Putative Class Members can claim a “single
site of employment” under the WARN Act by relying on Department of
Labor (“DOL”) regulations promulgated in Subpart 6 (20 C.F.R. §
639.1(6)).

A, The WARN Act

Before assessing the arguments for, and in opposition to,
class certification, it is necessary to provide a brief background
on the WARN Act.

Enacted in 1988, the WARN Act requires employers to provide
notice of abrupt, substantial employment terminations in order to
enable workers to seek alternative employment and to prepare
communities for economic disruption. See Meson v. GATZ Tech. Servs.
Corp., 507 F.3d 803, 808 (4th Cir. 2007) (relying on Bader v. N.

Line Layers, Inc., 503 F.3d 813 (9th Cir. 2007)); 20 C.F.R. §

 
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639.1(a)). The WARN Act requires employers to provide 60 days
written notice to employees before effectuating a “mass layoff” or
“plant closing”. 29 U.S.C. § 2102(a). Under the WARN Act, employees
may bring a claim of action when they incur a covered employment
loss without such notice, and employers who fail to give this
notice are liable to each affected employee for back pay, benefits,
and attorneys’ fees. 29 U.S.C. § 2104.

The WARN Act defines “mass layoff” as a reduction in workforce
at a “single site of employment” that impacts at least 33 percent
of the employees and a minimum of 50 employees in a 30-day period.
29 U.S.C. § 2101(a) (3). The WARN Act does not define the term
“single site of employment.” However, DOL, the federal agency
responsible for administering the statute, has defined through
regulations a “single site of employment” as “either a single
location or a group of contiguous locations.” 20 C.F.R. §
639.3(g) (i) (1).

The parties in the present case dispute whether certain
requirements of the “single site of employment” regulations,
particularly Subpart 6, apply to Plaintiffs and Putative Class

Members:
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For workers whose primary duties require travel from
point to point, who are outstationed, or whose primary
duties involve work outside any of the employer's
regular employment sites (e.g., railroad workers, bus
drivers, salespersons), the single site of employment
to which they are assigned as their home base, from
which their work is the assigned, or to which they
report will be the single site in which they are
covered for WARN purposes.
20 C.F.R. § 639.3(i) (6).

Courts apply a highly deferential, narrow standard of review
for interpretative regulations promulgated by federal agencies.
See generally Ohio Valley Env’t Coal. v. Aracoma Coal Co., 556
F.3d 177, 192 (4th Cir. 200) (“Although [the court’s] inquiry into
the facts is to be searching and careful, the ultimate standard of
review is a narrow one. The court is not empowered to substitute
its judgment for that of the agency.”) (quoting Citizens to
Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971)).

In the Fourth Circuit, courts must not only defer to DOL’s
regulatory interpretation, but also apply the standard set forth
by Meson for determining “single site of employment” under Subpart
6 of the regulations when reviewing WARN Act claims. See Meson,
507 F.3d at 809-10. In Meson, the Court of Appeals held that

Subpart 6 was “intended to apply only to truly mobile workers

without a regular, fixed place of work.” Id. at 809.
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B. Procedural History

On September 27, 2019, Plaintiffs filed a Complaint claiming
that GDIT had violated the WARN Act by not providing Plaintiffs
and Putative Class Members at least 60 days advance written notice
of their terminations. See CLASS ACTION COMPLAINT FOR VIOLATION OF
WARN ACT 29 U.S.C. § 2101, ET SEQ. (ECF No. 1). On March 10, 2020
Plaintiff’s AMENDED CLASS ACTION COMPLAINT FOR VIOLATION OF WARN
ACT 29 U.S.C. § 2101, ET SEQ. (ECF No. 5) was dismissed, without
prejudice, pursuant to the ORDER (ECF No. 38) and the accompanying
MEMORANDUM OPINION (ECF No. 37). In the opinion, the Court
determined that the Amended Complaint failed to allege the
requirements for the definition of “mobile worker” under Meson
because Plaintiffs had not adequately alleged that they fell within

Subpart 6. Piron v. Gen. Dynamic Info. Tech., Inc., No. 3:19-cv-

 

709, 2020 WL 115983, at *3-4 (E.D. Va. Mar. 10, 2020). However,
Plaintiffs were afforded leave to file another amended complaint
“if, upon careful examination, the Plaintiffs’ counsel can file
such a pleading consistent with the requirements of Fed. R. Civ.
P. 11.” ORDER (ECF No. 38).

On April 27, 2020, Plaintiffs subsequently filed the SAC which
alleges that GDIT violated the WARN Act by failing to give adequate
written notice 60 days before ordering a mass layoff between July
3, 2019 through September 13, 2019 that resulted in “employment

losses” for at least 50 of Defendant’s employees as well as 33
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percent of Defendant’s workforce at the GDIT facility in Falls
Church, Virginia. ECF No. 39 47 139-40, 145-46. The premise for
that allegation is the assertion that the Falls Church facility
was the single site of employment for Plaintiffs and Putative Class
Members. Id. 97 142.

GDIT filed DEFENDANT GDIT’s MOTION TO DISMISS THE SECOND
AMENDED COMPLAINT (ECF No. 41) which was denied because “the Second
Amended Complaint alleges facts from which it plausibly could be
held that the plaintiffs and class members fit within the so-
called ‘mobile worker’ category [in Meson]. . .” However, the Court
also noted that “further development of the record [may]
necessitate a different conclusion after the end of discovery.”
ORDER (ECF No. 50 at 2).

Thereafter, “the parties . . . completed more than two months
of class certification discovery, including production of over
40,000 pages of documents, interrogatories, and positions.” ECF
No. 72 at 13 (referencing ECF Nos. 51, 54). Plaintiffs subsequently
moved for PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION AND RELATED

RELIEF (ECF No. 61). Timely replies and responses were filed.
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C. Factual Background

GDIT is an information technology company headquartered in
Falls Church, Virginia. ECF No. 39 9 14. In the Spring of 2018,
GDIT acquired CSRA, Inc. (“CSRA”), a company that performed federal
agency employee background checks for the Office of Personnel
Management (“OPM”). Id. at 1, 9 17. The CSRA/OPM contract was an
asset to which GDIT succeeded when it acquired CSRA. Id.

Plaintiffs and Putative Class Members were employed by the
CSRA and became employed by GDIT after it acquired CSRA. After the
CSRA employees, which included about 1,200 Investigators and 300
Reviewers, became employees of GDIT, they continued to work on the
OPM contract within GDIT as part of GDIT’s Civil and Homeland
Security Group. Id. at 1.

To support performance of the OPM contract, GDIT maintained
a Program Management Office (“PMO”) in Falls Church, Virginia. The
PMO was divided into two sections: operations management functions
and corporate program support. See Ex. 6, ECF No. 66-6 at 14-16,
81. Plaintiffs and Putative Class Members were employed in the
PMO’s operations management section, which oversaw what GDIT
described as its “mobile workforce.” Id. at 14, 19, 31. Continuity
for field investigations across the country was enabled by GDIT’s
software known as Case Management System (“CMS”). Id. Operations
management employees, including the field investigative staff

reported to the PMO. Id. at 14-15.
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GDIT’s hierarchical nature created a management system
whereby the PMO led “the daily priorities of the teams” including
those within the Operations Field Branch and Operations Quality
Branch (i.e., the “mobile workforce”). ECF No. Ex. 11, 66-11 at 3-
4, 9. Works assignments originated from the PMO, led by Anthony
Durante, who was situated in GDIT’s Falls Church, Virginia office.
ECF No. 39 at 1-2; Ex. 22, ECF No. 66-22. According to the PMO
Falls Church Office Organizational Chart, the majority of
employees were considered remote resources, who were subject to
Durante’s oversight either directly or indirectly. See Ex. 22, ECF
No. 66-22 at 2 (representing Durante as responsible for the
Operations Managers and Workload Team); Ex. 6, ECF No. 66-6 at 81
(representing Durante as responsible for the Field Supervisors and
Case Reviewers).

GDIT employees were located in various locations across the
country in order to support, and, to efficiently perform, the field

investigations required under the OPM contract. Id. at 81-82. GDIT

divided its fieldwork staff into four groups: Background
Investigators (“Investigators”), Field Supervisors
(“Supervisors”), Case Reviewers (including Quality Analysts), and

Case Reviewer Supervisors. ECF No. 39 99 40, 43; ECF No. 66 at 2,
n. 4. GDIT’s performance of the OPM contract began when OPM sent
to GDIT requests for background investigations for people who

applied for jobs at OPM. Then, GDIT would assign the background
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investigation for the applicant to Investigators, ECF No. 39 7 18,
who were divided into teams that reported to Supervisors. Id. f
42. Investigators typically worked from their homes from which
they traveled to the situs of the interviews so that they could
conduct interviews face-to-face. Id. 4 20-21. Senior Investigators
also could act as Mentors to new Investigators. Id. J 41.

Supervisors worked from their homes. Their job was to assist
Investigators in establishing and navigating investigations,
provided feedback to Investigators, and performed ride-along
check-ins during field investigations. Id. 4% 42, 57, 85, 87, 88.

Case Reviewers typically worked from their homes. Their job
was to determine whether a case needed to be reopened and further
investigated by an Investigator. Id. QF 121-23. Case Reviewers
were assigned cases by the PMO and their reports went to the PMO.
Id. 9 124.

While employed by GDIT, Piron served as a Quality Analyst
Associate performing case reviews and worked remotely from her
home in North Dakota until her termination on or about July 3,
2019.} Merino was employed as an Investigator III and worked
remotely from her home in Virginia until her termination on or

about September 5, 2019. Thamvanthongkham was employed as a

 

1 Quality Analysts are considered part of the Case Review team
based on the depositional testimony and briefings. See ECF No. 66
at 2, n. 4.
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Supervisor and worked remotely from his home in Virginia until his
termination on or about July 3, 2019. Beecroft was employed as an
Investigator IV/Mentor and worked remotely from her home in
Virginia until on or about August 7, 2019. Id. 491 10-13; ECF No.
43 99 10-13; Ex. 8, ECF No. 66-8. According to the SAC, these
employees “did not work at any site owned, occupied or controlled
by GDIT.” ECF No. 39 at 2. This apparently refers to the record
evidence that, GDIT’s employees who worked from home were permitted
to do their work from other locations, such as coffee shops, at
the employee’s election. Id. G4 66, 100.

GDIT’s hierarchical nature created a management system
whereby the PMO led “the daily priorities of the teams” including
those within the Operations Field Branch and Operations Quality
Branch (i.e., the “mobile workforce”). ECF No. Ex. 11, 66-11 at 3-
4, 9. Works assignments originated from the PMO, led by Anthony
Durante, who was situated in GDIT’s Falls Church, Virginia office.
ECF No. 39 at 1-2; Ex. 22, ECF No. 66-22. According to the PMO
Falls Church Office Organizational Chart, the majority of
employees were considered remote resources, who were subject to
Durante’s oversight. Ex. 22, ECF No. 66-22 at 2 (representing
Durante as responsible for the Operations Managers and Workload
Team); Ex. 6, ECF No. 66-6 at 81 (representing Durante as

responsible for the Supervisors and Case Reviewers).

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In the Spring of 2019, GDIT determined that the OPM contract
would soon end, and the company began to terminate employees in
its Civil and Homeland Security Group. ECF No. 39 4 1. GDIT sent
the first wave of termination letters on June 19, 2019, informing
employees that their employment would end on July 3, 2019. Id.
2. Subsequent waves of layoffs occurred on July 26, 2019 and August
16, 2019, and a final wave of termination letters was sent on
August 22 and 26, 2019 with termination dates set for September 5
or 13, 2019. Id. at II 3-4.

The SAC alleges that, in taking those actions, GDIT violated
the WARN Act by failing to provide 60 days’ advance written notice
of terminations to employees:

who worked at, reported to, or received assignments

from one of Defendant’s Facility and were terminated

without cause beginning on or about July 3, 2019

through September 5, 2019, and within 90 days of those

dates, or were terminated without cause as_ the
reasonably foreseeable consequence of the mass layoff
and/or plant closing ordered by Defendant beginning on

or about July 3, 2019, and who are affected employees.

Id. 9 126. The employees include approximately 1,200 Investigators
and Supervisors and about 300 Case Reviewers. Id. at 1.

D. Proposed Class and Subclass

In the Class Certification Motion, Plaintiffs request the
Court to certify the proposed class as a subclass pursuant to Fed.
R. Civ. P. 23, comprising:

The GDIT employees who worked on its OPM contract and
were terminated between July and December 2019 and

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have not filed a timely request to opt-out of the
class.

[Case Management Subclass: Travel Subclass: The GDIT
employees who worked on its OPM contract as Background
Investigator, Project/Task Supervisor, or similarly
situated positions and were terminated between July
and December 2019 and have not filed a timely request
to opt-out of the class.]

Plaintiffs also request that: (1) Raisner Roupinian LLP be
appointed as Class Counsel; (2) Plaintiffs Piron, Merino,
Thamvanthongkham, and Beecroft be the Class Representatives; and
(3) the Court approve the form and manner of Notice. [PROPOSED]
ORDER CERTIFYING A CLASS AND GRANTING RELATED RELIEF (ECF No. 61-
1).

For the most part, the proposed class consists of the remote
workers (who comprise 94 percent of the proposed class) and
includes the employees who worked on the OPM contract, “including
the 1,143 ‘remote resources’ who reported up to [Program Director]
Anthony Durante and provided field investigative services.” ECF
No. 66 at 2 (referencing BICS PMO Falls Church Office Org., Ex.
22, ECF No. 66-16 at 2-3). In addition, the proposed class includes

approximately 70 employees who were physically at the Falls Church

office. ECF No. 66 at 17.

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II. CLASS CERTIFICATION DISCUSSION

A class can be certified if Plaintiffs show that the four
requirements of Fed. R. Civ. P. 23(a) are met and that the class
fits the requirements of at least one of the class types outlined
in Fed. R. Civ. P. 23(b). Branch v. Gov’t Emps. Ins. Co., 323
F.R.D. 539, 544 (E.D. Va. 2018) (emphasis added). The analysis of
each requirement must be “rigorous,” Wal-Mart Stores, Inc. v.
Dukes, 564 U.S. 338, 350-51 (2011), and Plaintiffs bear the burden
to demonstrate that all of the Rule 23 requirements have been
satisfied. Branch, 323 F.R.D. at 545.

“Class relief is peculiarly appropriate when the issues
involved are common to the class as a whole and when they turn on
questions of law applicable in the same manner to each member of

the class.” Soutter v. Equifax Info. Servs., 307 F.R.D. 183, 195

 

(E.D. Va. 2015) (quotations omitted) (citing Gen. Tel. Co. of Sw.
v. Falcon, 457 U.S. 147, 155 (1982)). Class certification is
appropriate when “the numerosity, commonality, typicality,
representativeness, predominance, and superiority requirements of
both Rule 23(a) and (b)(3) are met.” Lienhart v. Dryvit Sys., 255
F.3d 138, 146 (4th Cir. 2001). Rule 23 also contains an implicit
threshold “ascertainability” requirement. See EQT Prod. Co. v.

Adair, 764 F.3d 347, 358 (4th Cir. 2014).

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A. Legal Framework for Rule 23 (a)

Under Rule 23(a), class certification is appropriate if “(1)
the class is so numerous that joinder of all members is
impracticable; (2) there are questions of law or fact common to
the class; (3) the claims or defenses of the representative parties
are typical of the claims or defenses of the class; and (4) the
representative parties will fairly and adequately protect the
interests of the class.” Fed. R. Civ. P. 23(a). A review of the
record discloses that the proposed class meets each of these
elements. Defendants do not appear to suggest otherwise.
Nonetheless, it is appropriate to confirm that to be the case. So
each Rule 23(a) factor will be reviewed briefly.

1. Numerosity

Rule 23(a) (1) requires the Court to find that “the class is
so numerous that joinder of all members is impracticable.” Fed. R.
Civ. P. 23{a)({1). Whether joinder is impracticable is a fact-
specific inquiry that depends not only on the number of class
members but also on the circumstances of the case. Soutter, 307
F.R.D. at 199. “‘*Courts consider a number of factors in considering
whether joinder is practicable including the size of the class,
ease of identifying its numbers and determining their addresses,
facility of making service on them if joined and their geographic

dispersion.’” Id. (quoting Adams v. Henderson, 197 F.R.D. 162, 170

 

(D. Md. 2000)).

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The putative class is estimated to be between 800 and 1,200
individuals. ECF No. 66 at 19. Exhibit 8 contains a list of 857
individuals identified at least by their name, employee number,
job title, hire date, and termination date. See Ex. 8, ECF No. 66-
8. This surpasses the threshold necessary for the numerosity
requirement, and GDIT has not offered any arguments to _ the
contrary. The numerosity requirement has been established.

2. Commonality

The second element of Rule 23(a) is commonality. The Court
must find that “there are questions of law or fact common to the
class.” Fed. R. Civ. P. 23(a) (2). To meet this burden, “plaintiffs
must present a common contention capable of being proven or

disproven in ‘one stroke.’” Brown v. Nucor Corp., 785 F.3d 895,

 

909 (4th Cir. 2015) (internal citation omitted). The primary
concern is not just the presence of common questions, but whether
“a classwide proceeding [can] generate common answers apt to drive
the resolution of the litigation.” Richard A. Nagareda, Class

Certification in the Age of Aggregate Proof, 84 N.Y.U. L. Rev. 97,

 

132 (2009).

Plaintiffs have shown that “the driving factual and legal
questions stem from a common core of facts regarding Defendant’s
actions and are provable through common evidence,” which includes

but is not limited to questions such as:

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e Whether Defendant terminated the employment of the class members
without cause.

e Whether the class members’ single site of employment was the
Falls Church office.

e Whether Defendant terminated the class members without giving
them at least 60 days prior written notice as required by the

WARN Act.

e Whether Defendant has any valid defenses justifying less than
60 days’ notice.

e Whether Defendant failed to pay the class members 60 days’ wages
and benefits.

See ECF No. 66 at 19-21.

In this case, the putative class satisfies the commonality
requirement, which is related to, but far less demanding than, the
predominance requirement of Fed. R. Civ. P. 23(b). Amchem Prod.,
Inc. v. Windsor, 521 U.S. 591, 624 (1997). Common factual and legal
questions pervade the putative class, as listed above, nearly all
of which are capable of being “proven or disproven in one stroke.”
Nucor Corp., 785 F.3d at 909. GDIT has not argued to the contrary.

The commonality factor is satisfied.

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3. Typicality

The third requirement for certification under Rule 23(a)
necessitates a finding that “the claims or defenses of the
representative parties are typical of the claims or defenses of
the class.” Fed. R. Civ. P. 23(a) (3). Class representatives “must
be part of the class and possess the same interest and suffer the
same injury as the class members.” Falcon, 457 U.S. at 156
(internal quotation marks omitted). It is not necessary that the
claims “be perfectly identical or perfectly aligned,” but that the
prosecution of the plaintiffs’ cases “tend[s] to advance the
interest of the absent class members.” Deiter v. Microsoft Corp.,
436 F.3d 461, 466 (4th Cir. 2006); see also Branch, 323 F.R.D. at
547 (The representative’s claims “cannot be so different from the
claims of absent class members that their claims will not be
advanced by plaintiff’s proof of [her] own individual
claim.”) (quoting Deiter, 436 at 466-67).

Plaintiffs explain that the third requirement is met because
they allege the same injury as the Putative Class Members: they
were all terminated by GDIT as part of the same plant closing or
mass layoff. Plaintiffs also argue that they and the Putative Class
Members all seek to demonstrate that GDIT was a covered WARN
employer; directed a plant closing or mass layoff beginning on or

around July 3, 2019; did not offer any of the employees with 60

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days’ notice of their terminations; and did not have any valid
defense justifying that failure. ECF No. 66 at 21-22.

Plaintiffs have met their burden of showing that “the claims
or defenses of the representative parties are typical of the claims
or defenses of the class.” Fed. R. Civ. P. 23(a) (3). The proposed
class representatives appear to generally have “the same interest
and suffer the same injury as the class members.” Deiter, 436 F.3d
at 466. Accordingly, the claims of the named Plaintiffs align with
the claims of the class. GDIT does not say otherwise. And, the
typicality requirement is satisfied.

4. Adequacy of Representation

The final prerequisite of Rule 23(a) is adequacy: Plaintiffs
must show that “the representative parties will fairly and
adequately protect the interests of the class.” Fed. R. Civ. P.
23(a) (4). This inquiry involves an assessment of both the class
representative as well as class counsel. Wal-Mart Stores, Inc.,
564 U.S. at 350 n.5 (noting that although the final three
requirements do “tend to merge,” the adequacy requirement also
“raises concerns about the competency of class counsel and
conflicts of interest.”). The requirement is satisfied “when: (1)
the named plaintiff does not have interests antagonistic to those
of the class; and (2) plaintiff's attorneys are qualified,

experienced, and generally able to conduct the litigation.” Brown

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v. Transurban USA, Inc., 318 F.R.D. 560, 567 (E.D. Va. 2016)

 

(internal quotation marks omitted).

The representativeness requirement is satisfied for both the
proposed Class Representatives and proposed Class Counsel because:
(1) there are no conflicts of interest as both Plaintiffs and
proposed class must establish that they were entitled to and not
provided adequate WARN notice; (2) Plaintiffs “have been diligent
in prosecuting the case”; and (3) Plaintiffs’ counsel are
“qualified, experienced and generally able to conduct the proposed
litigation.” ECF No. 66 at 22 (quoting Eisen v. Carlisle &
Jacquelin, 391 F.2d 555, 562 (2nd Cir. 1968), cert. denied, 417
U.S. 156 (1974)) (internal quotation marks omitted). Plaintiffs’
counsel, Raisner Roupinian LLP, only represents employees affected
by mass layoffs and shutdowns and therefore appropriate for this
action. GDIT does not question Plaintiffs’ choice of legal
representation nor class representatives. The adequacy component
of Rule 23(a) has also been met.

B. Legal Framework for Rule 23 (b) (3)

In a motion for certification under Rule (23) (b) (3), the
plaintiff faces the additional burden of demonstrating that
“questions of law or fact common to class members predominate over
any questions affecting only individual members; and that a class
action is superior to other available methods of fairly and

efficiently adjudicating the controversy.” Fed. R. Civ. P.

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23(b) (3) (emphasis added). In the Fourth Circuit, it is also

necessary to demonstrate compliance with a third “implicit”

requirement: the proposed class must be readily ascertainable

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in

reference to objective criteria.” EQT Prod. Co., 764 F.3d at 358.

Each of these three requirements-predominance, superiority, and

ascertainability—must be met before certification can be granted.

The Rule 23(b) (3) analysis may overlap with the merits of the

underlying case, but “[t]hat cannot be helped.” Branch, 323 F.R.D.

at 545 (quoting Wal-Mart Stores, Inc., 564 U.S. at 350-51).

 

However, “‘Rule 23 grants courts no license to engage in free-

ranging merits inquiries at the certification stage. Merits

questions may be considered to the extent - but only to the extent

that they are relevant to determining whether the Rule 23

prerequisites for class certification are satisfied.’” Branch, 323

F.R.D. at 545 (quoting Amgen Inc. v. Conn. Ret. Plans & Trust

Funds, 568 U.S. 455, 466 (2013)).

GDIT does not dispute the superiority or ascertainability

facets of the Rule 23(b) analysis and argues against class

certification only on the lack of predominance. And, an independent

assessment by the Court confirms that both of those facets are

satisfied.2

 

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See supra Parts II.B.2 and 3, pp. 34-37.
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1. Predominance
Although similar to Rule 23(a)’s requirement of commonality,
the predominance criterion of Rule 23(b}) (3) is “far more

demanding.” Amchem Prod., Inc., 521 U.S. at 624; see also Comcast

 

Corp. v. Behrend, 569 U.S. 27, 34 (2013) (“If anything, Rule

 

23(b) (3)'s predominance criterion is even more demanding than Rule
23(a).”). The more challenging standard is a function of the more
“adventuresome” nature of Rule 23(b)(3), which “allows class
certification in a much wider set of circumstances but with greater

procedural protections.” Wal-Mart Stores, Inc., 564 U.S. at 362.

 

Under Rule 23(b)(3), it is not enough merely to demonstrate
that common questions exist across the class. Instead, Plaintiffs
must demonstrate that those common “questions of law or fact

predominate over any questions affecting only individual
members.” EQT Prod. Co., 764 F.3d at 366. Accordingly, “[t]he
predominance inquiry focuses not only on the existence of common
questions, but also on how those questions relate to _ the
controversy at the heart of the litigation.” Id. This inquiry
further turns on whether “the defendants’ common conduct is
sufficient to ensure the predominance of common issues over
individual ones.” Id. at 367.

Predominance may not be fulfilled by relying on “the legal or
factual questions that qualify each class member’s case as a

genuine controversy.” Amchem Prod., Inc., 521 U.S. at 622. In other

 

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words, the “predominance inquiry tests whether proposed classes
are sufficiently cohesive to warrant adjudication by
representation.” Id. at 23. This concept renders the predominance
inquiry fundamentally qualitative: The Court must examine the
relationship between the common questions and the individual
questions in the context of the case as a whole. See Krakauer v.

Dish Network, LLC, 925 F.3d 643, 658 (4th Cir. 2019); Gunnells v.

 

Healthplan Servs., Inc., 348 F.3d 417, 429 (4th Cir. 2003).

 

However, “common issues of liability may still predominate
even when some individualized inquiry is required.” Ealy v.

Pinkerton Gov’t Servs., 514 F. App’x 299, 305 (4th Cir. 2013). “An

 

individual question is one where ‘members of a proposed class will
need to present evidence that varies from member to member,’ while
a common question is one where ‘the same evidence will suffice for
each member to make a prima facie showing [or] the issue is

susceptible to generalized, class-wide proof.’” Tyson Foods, Inc.

 

v._Bouaphakeo, 577 U.S. 442, 453 (2016) (internal citation
omitted). So long as the overarching issue in a case is common to
the class, class certification is still appropriate even if there
are some individual issues (e.g., damages) that will need to be
resolved. Krakauer, 925 F.3d at 658; Ealy, 514 Fed. App’x at 305.
Accordingly, it is necessary to review whether class-based
questions may undermine or support class cohesion, such as whether

the class members experienced the same wrongdoing during the same

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timeframe and by the same means. See Amchem Prod., Inc., 521 U.S.

 

at 624 (discussing the predominance factors relied upon by the

Court in Georgine v. Amchem Prod., Inc., 83 F.3d 610, 626 (3rd

 

Cir. 1996)).
(a) Parties’ Arguments

Here, the parties dispute whether Plaintiffs and Putative
Class Members are entitled to recovery under the WARN Act, the
resolution of which turns on the proposed class’s “single site of
employment” and the factual allegations supporting each party’s
statutory interpretation. Specifically, the parties dispute
whether the proposed class’s “single site of employment” for WARN
Act purposes was the Falls Church, Virginia office where the PMO
was housed and from which GDIT’s mobile workforce was directed.

Because the WARN Act does not define “single site of
employment,” resolution of this keen question necessitates
consideration of DOL’s “single site of employment” regulations

known as Subpart 6.3 See generally 20 C.F.R. § 639.3(6). “These

 

3 Plaintiffs alternatively argue that, if Subpart 6 does not
apply, the employees’ single site will depend on whether GDIT’s
mobile workforce was a “truly unusual organizational situation”
within the meaning of Subpart 8 of the DOL regulations. 20 C.F.R.
§ 639.3(i)(8). This determination, according to Plaintiffs,
depends on reviewing the organizational structure. ECF No. 66 at
27. GDIT asserts that, although this argument is untimely, it does
not alter the predominance analysis. GDIT further avers that
Plaintiffs have not pled facts suggesting that Subpart 8 applies
nor engaged in discovery that would support this contention. See
ECF No. 72 at 35-36. GDIT is correct. Subpart 8 has not been
sufficiently addressed in the pleadings, has not been addressed in

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regulations are entitled to ‘controlling weight unless they are
arbitrary, capricious, or manifestly contrary to the statute.’”
Meson, 507 F.3d at 808-809 (quoting Chevron, U.S.A., Inc. v. Nat.

Res. Def. Council, Inc., 467 U.S. 837, 844 (1984)). Subpart 6, as

 

previously replicated above, states:

For workers whose primary duties require travel from
point to point, who are outstationed, or whose primary
duties involve work outside any of the employer’s
regular employment sites (e.g., railroad workers, bus
drivers, salespersons), the single site of employment
to which they are assigned as their home base, from
which their work is the assigned, or to which they
report will be the single site in which they are
covered for WARN purposes.

 

20 C.F.R. § 639.3(1) (6) (emphasis added).

Both parties agree that whether Subpart 6’s characterization
of “single site of employment” applies to Plaintiffs and Putative
Class Members is governed by the Fourth Circuit’s decision in
Meson. There, the Fourth Circuit held that Subpart 6 applies to
“truly mobile workers, without a regular, fixed place of work.”
Meson, 507 F.3d at 809.

In Meson, a former employee, whose employment had ended when
the employer's assets were sold, sued the employer and its parent
company alleging a violation of the WARN Act for untimely notice,

among other things. The employee attempted to assert that the

 

discovery, and was first presented in the PLAINTIFFS’ MEMORANDUM
IN SUPPORT OF MOTION FOR CLASS CERTIFICATION AND RELATED RELIEF
(ECF No. 66). For these reasons, Subpart 8 will not be considered
at this stage.

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company’s headquarters was her single employment site. The Fourth
Circuit determined that the employee’s company office in Virginia,
rather than the company’s headquarters in Florida, was the
plaintiff's “undisputed fixed place of work” and, therefore, her
WARN single site. Id. at 810. The Court of Appeals found that the
corporate headquarters could not be used as the single site of
employment for the plaintiff-employee because it would lead to “a
potentially limitless scope” in which “every such regional manager
or chief executive could claim the corporate headquarters—in lieu
of the office she manages—as her ‘single site of employment’.” Id.
Accordingly, the Fourth Circuit held that the WARN Act did not

apply to the employee because she was not a “mobile worker”. Id.

at 811.

To decipher whether the plaintiff-employee was a mobile
worker within the context of Subpart 6, the Court analyzed her
office location and job duties. Although the plaintiff-employee
traveled to client sites as well as received assignments from and
reported into the Florida headquarters, the dispositive fact was
that she was assigned to a specific office in Virginia where she

managed two employees.’

 

The Court of Appeals also indicated that more than a “minimal
impact” to the community and its economy would be necessary to
warrant application of the WARN Act (i.e., at least greater than
three employees in the area). Id. at 811.

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In reaching that conclusion, the Court of Appeals explained
that the language in Subpart 6 “connote[s] the absence of a fixed
workplace” and that “home base” has been construed as “a site that
the employee visits during the course of a typical business trip”.
Id. at 809 (quoting Ciarlante v. Brown & Williamson Tobacco Corp.,
143 F.3d 139, 146 (3rd Cir. 1998)) (internal quotation marks
omitted). Moreover, the decision in Meson considered it important
that the Subpart’s language, specifically “{t]he terms ‘travel

from point to point,’ ‘outstationed,’ and ‘home base,’ all
connote[d] the absence of a fixed workplace.” Id. That text
combined with examples from the regulatory commentary, led to the
conclusion that Congress intended Subpart 6 to apply to employees
with no fixed worksite, such as bus drivers and railroad workers,
whose “jobs are characterized by travel and mobility.” Id. (quoting
Commentary to Worker Adjustment and Retraining Notification Act,
54 Fed. Reg. 16042, 16051 (Apr. 20, 1989)).

In the present case, Plaintiffs claim that Subpart 6 entitles
them to WARN Act coverage because GDIT’s Falls Church office, and
not their home offices, is their “single site of employment.”
Plaintiffs assert that common evidence will demonstrate that “the
primary duties of all proposed class members ‘involve[d] work
outside any of the employer’s regular employment sites,’ .. . and
that their homes were not a ‘fixed office’ under Meson.” ECF No.

66 at 25 (internal citation omitted). This common evidence in the

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record includes: GDIT’s Technical Proposal and Excerpt of Price
Proposal (Ex. 6, ECF No. 66-6); GDIT’s “Flexible Work Location”
policy (Ex. 25, ECF No. 66-18); the Protection of Personally
Identifiable Information (“PII”) policy (Ex. 26, ECF No. 66-19);
Operations Position Descriptions (Ex, 1i, ECF No. 66-11);
Organizational Chart Review (Ex. 10, ECF No. 66-10); and Excerpt
from Labor Hours Report (Ex. 28, ECF No. 66-20). These policies,
according to Plaintiffs, were uniformly applied to the Putative
Class Members and will establish that GDIT enabled employees to
work outside of the home.

In particular, the Flexible Work Location Policy states that
“employees may work some or all of the workweek in a company-
provided office setting, co-located with customers, or from an
alternative location (generally the employee’s home).” Ex. 25, ECF
No. 66-18 (emphasis added). The policy applies to all GDIT’s
organizational units and defines two different types of home-based
employees: those who work from home at least three days a week
(“Home-based Worker”) and those who work from a GDIT office at
least three days a week (“Home Flex Worker”). Id. at 3. The PII
Policy requires employees working on the OPM contract to securely
store and retain private information pertinent to investigations
regardless of workplace location. See Ex. 26, ECF No. 66-19. Taken
together, Plaintiffs assert that these policies describe the job

duties of the potential class members, which demonstrates that

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“their homes were not a fixed office under Meson.” ECF No. 66 at
32 (internal quotation marks omitted).

Plaintiffs also add that “the primary duties” of putative
class employees included traveling from “point to point” for
interviews and reviews. Id. at 33. This, according to Plaintiffs,
substantiates that “the primacy of mobility” that GDIT’s contract
with OPM required so as to allow for the efficient completion of
investigations. Id. Other evidence in the record, including Labor
Hour Reports, travel expense records, daily manifest check-ins and
check-outs, check ride forms, and daily task records from the CMS>
are probative of how travel was a primary, indeed essential, part
of the employees’ jobs. Id. at 34. Finally, Plaintiffs point out
that common evidence in the form of Workday records® and PMO
management activities demonstrates that employees reported to and
received assignments from the PMO office in Falls Church, which

they believe is consistent with Subpart 6. ECF No. 66 at 34; 20

 

GDIT tracked case progress in the CMS. CMS captured
Investigators’ daily work, including tasks performed (e.g.,
interview, record review), source units transmitted, timeliness,
quality deficiencies (as noted by Case Reviewers), and incidents
of misplaced PII. ECF No. 66-6 at 10.

“The listed information (job classification, manager,
hire/termination date, purported WARN notice date, and designated
work location) was stored in GDIT’s ‘Workday’ HR database, which
also contained performance review information, team and line
management, leave time, and related information.” Shartle 30b6
Dep., 28:23-29:3, 29:20-30:2, Ex. 1, ECF No. 66-1.

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C.F.R. 639.3(i) (6) (the single site location includes the facility
“from which their work is assigned” and “to which they report”).

Plaintiffs argue that the legal issues will have class-wide
application and the factual evidence will be assessed through
common evidence without the need for individualized assessments.
ECF No. 66 at 28. Therefore, Plaintiffs assert that their WARN
claim provides common elements among the proposed class that are
“class-wide proof” because the Court will have to assess whether
Plaintiffs and Putative Class Members engaged in “primary duties
[that] require travel from point to point” or “involve work outside
any of the employer's regular employment sites.” Id. at 25
(referencing 20 C.F.R. § 639.3(i) (6)).

In response, GDIT asks the Court to contemplate the merits of
Plaintiffs’ argument to decide “whether the Rule 23 prerequisite
for class certification are satisfied.” ECF No. 72 at 18 (quoting
EQT Prod. Co., 764 F.3d at 357). GDIT agrees that the meaningful
issue in dispute is “whether the Falls Church Office constitutes
the single site of employment for the putative class members,” but
GDIT takes the view that Plaintiffs cannot prove that point without
“individualized mini-trials.” Id. at 26.

Because the employees worked from home offices across the
country and abided by varying travel requirements, GDIT asserts
that “true mobility” within the confines of Subpart 6 cannot be

demonstrated on a class-wide basis because: (1) the Meson test “is

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holistic and circumstance-dependent”; (2) the common evidence
provided by Plaintiffs is insufficient to demonstrate “true
mobility”; (3) Meson demands individualized proof; and, (4)
certification would deprive GDIT of its right to litigate its

Meson-based defense against individual Putative Class Members. See

ECF No. 72 at 22-27.

GDIT’s view about the lack of predominance relies on the
Fourth Circuit’s holding in Meson, which requires the Court to
construe Subpart 6 narrowly because the Subpart “was intended to
apply only to truly mobile workers without a regular, fixed place
of work.” 507 F.3d at 809. Thus, according to GDIT, Meson
necessitates that the Court must assess whether “class members
qualified as ‘truly mobile workers’ . . . such that Subpart 6 could
even potentially apply.” ECF No. 72 at 26 (emphasis added).
Further, GDIT argues that, “even if Subpart 6 potentially applied,
the Court would still need to assess individuals’ single sites of
employment using the disjunctive guidelines of that provision, a
fact-intensive exercise that would involve pinpointing where class
members ‘reported’ or were ‘assigned’ work, in a context where
most or all of their supervisors and assigners were based in home
offices.” Id. And, GDIT takes the view that under Meson, job duties
necessitating even “significant travel” are legally inadequate to
apply to Subpart 6. Id. at 28 (quoting Meson, 507 F.3d at 804,

809-11).

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Both parties agree that, in order to claim Falls Church,
Virginia, the location of the PMO, as their WARN single site of
employment, Putative Class Members must show that their job duties
meet the standard set forth in Subpart 6. However, the parties
differ on how Meson should be applied to the Putative Class Members
in light of the Subpart 6 requirements. Compare ECF No. 72 at 28-
29 with ECF No. 75 at 14-15. Plaintiffs argue that the Subpart 6
applies under Meson because “all [putative] class members’ work
was to be performed outside any of [GDIT’s] regular employment
sites” and their “primary duties required them [to] travel point
to point (in the case of Investigators and Supervisors).”’ GDIT
argues that Meson’s definition of “truly mobile workers” precludes
the application of Subpart 6 to the Putative Class Members because
employees with travel responsibilities who maintain a “regular
fixed place of work” (e.g., the employees’ home offices) cannot be
deemed “truly mobile” under the Fourth Circuit’s test. ECF No. 72

at 28-29.

 

7 PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR CLASS
CERTIFICATION AND RELATED RELIEF (ECF No. 75 at 15) (referring to
20 C.F.R. § 639.3(1) (6)).

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(b) Analysis

First, as a threshold issue, courts within the Fourth Circuit
have generally certified Rule 23 WARN class actions, rejecting
objections based on predominance where, as here, there are few and
insignificant individual issues. See e.g., Gautier v. Tams Mgmt.,
Inc., No. 5:20-cv-00165, 2021 WL 4429611, at *5 (S.D. W.Va. Sep.
27, 2021) (granting motion to certify and finding that
“[rJespecting predomination, any individual questions are minor
and substantially outweighed by the common questions regarding
whether a WARN Act violation occurred.”); McKenzie v. CDA, Inc.,
No. 3:19-cv-213, 2021 WL 1220620 (W.D.N.C. Mar. 31, 2021)
(“Plaintiff has shown that he and the prospective class members
desire to prove predominantly the same facts against the Defendant
without presenting any conflicts of interest against one

another.”); Droste v. Vert Cap. Corp., No. 3:14-cv-467, 2015 WL

 

1526432 (B.D. Va. Apr. 2, 2015) (granting class certification for
manufacturing plant employees); Nolan v. Reliant Equity Invs.,
LLC, No. 3:08-CV-62, 2009 WL 2461008 (N.D. W. Va. Aug. 10, 2009)
(granting class certification for employees in three separate
facilities); Washington v. Aircap Inds. Corp., 831 F. Supp. 1292
(D.S.C. 1993) (granting class certification for seasonal
employees). Courts may contemplate whether a “single site of
employment” should be deemed where a business is headquartered and

operated out of, even when employees travel across the county and

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service various contracts at different client sites. Schmidt v.
FCI Enters. LLC, No. 1:18-cv-01472, 2019 WL 5748952 (E.D. Va. Nov.

5, 2019), rev’d Schmidt v. FCI Enters. LLC, 3 F.4d 95, 104 n.7

 

(4th Cir. 2021) (reversing because employer at issue was not an
employer covered by the WARN Act and declining to address whether
defendant’s headquarters were properly construed as the single
site of employment).

Second, the facts of Meson differ significantly from those
presented here. In Meson, the plaintiff was a regional sales
manager who oversaw two employees located in a Virginia office.
Accordingly, Meson identifies two types of employees: (1) those
“characterized” by mobility, including “traveling salespersons who
work primarily out of their homes or cars” and (2) the Meson
plaintiff who “worked out of a fixed office” and “managed the two
other employees in that office.” 507 F.3d at 809. To analyze
whether Subpart 6 applied, the Meson Court relied on _ the
plaintiff’s job duties to determine that she was more like a
regional sales manager rather than a traveling salesperson despite
being required to occasionally travel to various client sites. Id.
at 810. Thus, her single employment site was anchored by her
position’s responsibilities (i.e., managing two employees in the
Virginia office where she worked regularly worked). Id.

Here, the employees at issue are not required to work at, or

to supervise others at, a particular GDIT site. The GDIT policies

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in the record provide flexibility as to where the employees worked,
and those policies apply to the class equally without the need for
an individualized inquiry. See e.g., Technical Proposal and
Excerpt of Price Proposal, Ex. 6, ECF No. 66-6. For the entire
class identified by GDIT as its “mobile workforce,” GDIT’s policies
governing where employees may work appear to have been applied
uniformly and may establish “whether those policies created ‘place
of employment[.]’” ECF No. 75 at 11. These policies will be
assessed to determine the place of employment on a class-wide
basis. For the “travel subclass”, the following evidence tends to
indicate that travel was a primary job duty: CSRA OPM Field Work
Services (Ex. 6, ECF No. 66-6 at 28, 31, 82), Excerpt from Labor
Hours Report (Ex. 28, ECF No. 66-20) (listing investigator travel),
Beecroft Travel Expenses (Ex. 29, ECF No. 66-21), and Merino Travel
Expenses (Ex. 30, ECF No. 66-22). Accordingly, there appears to be
evidence that GDIT’s conduct was substantially the same with
respect to all Putative Class Members.

The Court declines to engage in a full merits-based analysis
of whether Plaintiffs can prove a “single site of employment” at
this stage in the litigation, particularly because Meson was not
a decision respecting whether class certification was appropriate.
GDIT’s argument that, in this case, an individualized inquiry will
be necessary for each Putative Class Member does not properly

contemplate whether there is a “single site of employment” that

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serves aS a common question addressable through common evidence.
And, the issue should be litigated on its merits, rather than
leveraged as a tool to deny class certification at this stage in
the proceedings. Amgen, 568 U.S. at 467. Class certification
remains appropriate because it “provides a single proceeding in
which to determine the merits of the plaintiffs’ claims, and
therefore protects the defendant from inconsistent adjudications”
driven by “the fact that the class action is binding on all class
members.” Gunnells, 348 F.3d at 427 (internal quotation marks
omitted).

Also, at this stage, the record strongly shows that what GDIT
called its “mobile workforce” was essential both to OPM’s decision
to award the contract to CSRA, GDIT’s predecessor, and to the
efficient performance of the OPM contract. And, the record also
provides strong support for the Plaintiffs’ position that the
mobile workforce was directed from the PMO and that the PMO
distributed the work-product of the mobile workforce to the OPM.

Further, “there is no risk whatsoever that a failure of proof
on the common question of [single site of employment] will result
in individual questions predominating.” Amgen, 568 U.S. at 468. If
Plaintiffs cannot prove a single site of employment, the litigation
must end, and “thus will never cause individual question of
reliance or anything else to overwhelm questions common to the

class.” Id. GDIT, therefore, will not be deprived of its right to

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litigate a Meson-based defense against the class as a whole (i.e.,
whether the former employees were tied to the PMO Office or not as
their home base), rather than individual class members.

The elements of Plaintiffs’ WARN Act claim can be resolved
largely on a class-wide basis. The two primary issues include: (1)
whether GDIT’s PMO office in Falls Church, Virginia constitutes a
site of employment for the OPM contract employees, and (2) whether
GDIT failed to provide notice under the WARN Act. Both inquiries
impact the Putative Class Members without the need = for
individualized explorations. They also go to the core of the WARN
Act claim and predominate over any individualized issues.
Therefore, the predominance requirement has been fulfilled because
“Rule 23(b) (3) requires a showing that questions common to the
class predominate, not that those questions will be answered, on
the merits, in favor of the class.” Amgen, 568 U.S. at 459.

Granting class certification will still allow the parties to
dispute whether Plaintiffs can meet the “single site of employment”
under Subpart 6 and Meson, particularly because “the Fourth Circuit
has not provided specific guidance regarding which standard a
district court should use to evaluate single employer status under

the WARN Act.” Butler v. Fluor Corp., 511 F. Supp. 3d 688, 698

 

(D.S.C. 2021). Accordingly, the contention that Plaintiffs cannot
prove a WARN Act claim due to lack of a “single site of employment”

“is properly addressed at trial or in a ruling on a summary

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judgment motion. The allegation should not be resolved in deciding
whether to certify a proposed class.” Amgen, 568 U.S. at 470.
2. Superiority

The superiority requirement of Rule 23(b)(3) requires the
Court to find “that a class action is superior to other available
methods of fairly and efficiently adjudicating the controversy.”
Fed. R. Civ. P. 23(b) (3). Along with predominance, the superiority
requirement seeks “to cover cases in which a class action would
achieve economies of time, effort, and expense, and promote
uniformity of decision as to persons similarly situated, without
sacrificing procedural fairness or bringing about other

undesirable results.” Amchem Prod., Inc., 521 U.S. at 615. A

 

“strong presumption in favor of a finding of superiority” arises
where “the alternative to a class action” is “no action at all.”
Soutter, 307 F.R.D. at 218 (internal citation omitted). After
considering each of the criteria set out by Rule 23(b) (3) (A)-(D),
the Court finds that adjudication on a class-wide basis is superior
to individual litigation.

Plaintiffs assert that “the [small] size of the employees’
respective claims makes individual suits not only inferior, but
unfeasible.” ECF No. 66 at 35. On that score, Plaintiffs have shown
that each class members’ claim is less than $10,000, not including

benefits, and that therefore, they cannot retain counsel to pursue

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these claims as individual litigants. Id. at 14, 28. GDIT has not
addressed that point.

The WARN Act limits damages and disincentivizes individual
claims because of the potential for a small recovery even if there
is merit to the claims. Here, it is evident that damages per
Putative Class Member are small and unlikely to be litigated on an
individual basis. Thus, the Court finds that Plaintiffs and
Putative Class Members’ interests in individually directing the
prosecution of separate actions is negligible. “Concentrating any
WARN litigation in a single class action will avoid multiple suits
and will maximize judicial economy, efficiency, and uniformity of

outcomes for similarly situated individuals.” Applegate v. Formed

 

Fiber Techs., LLC, 2:10-cv-00473, 2012 WL 3065542, at *9 (D. Me.

 

Jul. 27, 2012). Further, the Court has not detected any difficult
issues in managing the class action, as proposed. Whether GDIT
neglected to give the requisite notice under the WARN ACT is
particularly well-suited for class action procedure: the class
members have already been identified through discovery, the
potential liability of GDIT can be calculated, and only GDIT’s
conduct must be examined and adjudicated. See id. Finally, when a
class is certified, GDIT may still pursue dispositive motions,
including whether there is a single site of employment, against

the class without need for individual litigation.

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3. Ascertainability

In the Fourth Circuit, “a class cannot be certified unless a4
court can readily identify the class members in reference to
objective criteria.” EQT Prod. Co., 764 F.3d at 358. And, “if class
members are impossible to identify without extensive = and
individualized fact-finding or mini-trials, then a class action is
inappropriate.” Id.

Here, Plaintiffs provide evidence identifying the employees
assigned to the OPM contract who were subsequently terminated. See
Ex. 22, ECF No. 66-16 at 2-10; Ex. 8, ECF No. 66-8 at 3-11. Exhibit
22 lists the BICS PMO Falls Church Officer Organization Chart for
May 31, 2019, which contains names for GDIT staff members and
indicating the total on staff as 1,225. See Ex. 22, ECF No. 66-16
at 1. This exhibit does not appear to explicitly convey whether
the staff listed were assigned to the OPM contract; however,
Exhibit 8 contains a list of 857 individuals identified at least
by their name, employee number, job title, hire date, and
termination date. See Ex. 8, ECF No. 66-8. Accordingly, the

proposed class appears to be ascertainable.

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IIT. CONCLUSION

For the foregoing reasons, PLAINTIFFS’ MOTION FOR CLASS

CERTIFICATION AND RELATED RELIEF (ECF No. 61) will be granted.

or__ (CE?

Robert E. Payne
Senior United States District Judge

It is so ORDERED.

Richmond, Virgini
Date: February ie. 2022

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